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6               IN THE UNITED STATES DISTRICT COURT FOR THE

7                       EASTERN DISTRICT OF CALIFORNIA

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9    JOSE POMPA FERNANDEZ,             )       No. CV-F-05-286 OWW
                                       )       (No. CR-F-00-5209 OWW)
10                                     )
                                       )
11                   Petitioner,       )       MEMORANDUM DECISION AND
                                       )       ORDER DENYING PETITIONER'S
12             vs.                     )       MOTION TO VACATE, SET ASIDE
                                       )       OR CORRECT SENTENCE PURSUANT
13                                     )       TO 28 U.S.C. § 2255 AND
     UNITED STATES OF AMERICA,         )       DIRECTING CLERK OF COURT TO
14                                     )       ENTER JUDGMENT FOR
                                       )       RESPONDENT
15                   Respondent.       )
                                       )
16                                     )

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          On February 28, 2005, Petitioner filed a motion to vacate,
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     set aside or correct sentence pursuant to 28 U.S.C. § 2255 based
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     on Blakely v. Washington, 542 U.S. 296 (2004).
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          Petitioner pleaded guilty and was sentenced on April 8, 2002
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     to 192 months incarceration.      Petitioner did not file a Notice of
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     Appeal.
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          Petitioner’s motion was not filed within the one-year
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1    limitation period set forth in Section 2255.         As a general

2    practice, Petitioner would be required to file an amended Section

3    2255 motion setting forth the facts upon which he relies in

4    contending that his motion is timely filed or that he is entitled

5    to equitable tolling.     Because, however, neither Blakely v.

6    Washington nor United States v. Booker, 543 U.S. 200 (2005) are

7    retroactive on collateral review, United States v. Cruz, 423 F.3d

8    1119 (9th Cir.2005), cert. denied, 546 U.S. 1155 (2006); Schardt

9    v. Payne, 414 F.3d 1025 (9th Cir.2005), Petitioner is not

10   entitled to relief even if his Section 2255 motion is determined

11   to have been timely filed.

12         For the reasons stated:

13         1.     Petitioner Jose Pompa Fernandez’s motion to vacate, set

14   aside or correct sentence pursuant to 28 U.S.C. § 2255 is DENIED;

15         2.     The Clerk of the Court is directed to enter JUDGMENT FOR

16   RESPONDENT.

17         IT IS SO ORDERED.

18   Dated:     July 8, 2008                /s/ Oliver W. Wanger
     668554                            UNITED STATES DISTRICT JUDGE
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